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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               STATESBORO DIVISION




UNITED STATES OF AMERICA

V.                                                  CR612-018


LEON VARNEZE PACE




                                           ORDER


       The defendant, Leon Vameze Pate, was sentenced by this court on September 4, 2013

and is currently under the supervision of the United States Probation Office. Surety, Mikki

Knighton, has requested the return of the $2,000.00 cash security posted on the defendant's

$20,000.00 bond.

       IT IS HEREBY ORDERED that the cash collateral in the amount of $2,000.00 posted

by surety for the defendant, plus all accrued interest thereon, be returned to Mikki Knighton at

1020 Perry Street, Helena, Arizona 72342

       This J2.^'^ay of                         2018 at Augusta, Georgia.


                                                   CHffiFJTOGE J. MNDAL HALL
                                                   UNITEOSTATES DISTRICT COURT
                                                —SOUTHERN DISTRICT OF GEORGIA
